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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE


 JL POWELL CLOTHING LLC, and                       )
 JL POWELL LLC,                                    )
                                                   )
                             Plaintiffs            )
                                                   )
                        v.                         )    Docket No. 2:13-cv-00160-NT
                                                   )
 JOSHUA L. POWELL, individually and                )
 d/b/a/ THE FIELD, d/b/a FIELD OUTING,             )
 d/b/a FIELD OUTFITTING COMPANY                    )
                                                   )
                             Defendants            )


    PLAINTIFFS’ PRE-HEARING MEMORANDUM ON SCOPE OF THE
                   PRELIMINARY INJUNCTION


       Plaintiffs submit this memorandum regarding scope and language of the

 preliminary injunction following the Court’s Order on Remand (ECF No. 99)

 addressing the irreparable harm component and pursuant to the Court’s directive

 for a pre-hearing position paper (ECF No. 101).

       The preliminary injunction ordered by the Court on January 30, 2014

 provides as follows:

       The Defendant is hereby PRELIMINARILY ENJOINED from using his
       name or endorsement in connection with his business venture The Field,
       and is directed to instruct other persons or entities using his name or
       endorsement in connection with the Field to cease any such use.

 Order of January 30, 2014 at 39 (ECF No. 80). On interlocutory appeal of the

 preliminary injunction, Defendant Powell argued for the first time that the phrase

 “in connection with” is overbroad because it “precludes him from such things as
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 daily ordinary use of his name.” JL Powell Clothing LLC v. Powell, 2014 WL

 5410287, at *8 (1st Cir. June 9, 2014). Now that this Court has made findings of

 irreparable harm, the First Circuit has directed the Court “to hear the parties’

 arguments and tailor the injunction (if required) to meet Joshua’s legitimate

 concerns.” Id.

 Where the Parties Agree and Disagree on Scope Language for the
 Preliminary Injunction

        The Plaintiffs do not seek to preclude Defendant Powell from “daily

 ordinary use of his name” and have so communicated to Defendant’s counsel. As

 it turns out, apparently that is not the Defendant’s actual concern, for the

 Defendant has not identified any particular daily use that he would like to have

 exempted from the preliminary injunction. Rather, as Defendant’s counsel

 announced over the speaker phone during the chambers’ conference on October

 30, 2014, the Defendant wishes to use his name and endorsement to “market” his

 business venture, The Field.    The Defendant apparently will only agree not to

 use his name in The Field catalog or on The Field commercial website. Plaintiffs

 do not object to Mr. Powell’s “daily ordinary use of his name,” but do seek to

 preclude public use of Mr. Powell’s name or name and endorsement, because such

 use is likely to “attract public attention” to The Field or to Mr. Powell’s

 association therewith, with a resulting likelihood of customer confusion.




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 Proposed Language for a Revised Preliminary Injunction

        In order to distinguish “daily ordinary use” (permitted) from public use (not
 permitted), Plaintiffs propose the following language for a revised preliminary
 injunction:


        The Defendant, Joshua L. Powell, is hereby PRELIMINARILY ENJOINED
        from using his name on any building signage for or in any media publications
        of his business venture, The Field, sometimes known as The Field Outfitting
        or The Field Outfitting Company, now existing or hereafter published,
        including without limitation The Field’s print and digital catalogs, commercial
        website at www.thefieldoutfitting.com, and social media sites such as Twitter,
        Facebook, and LinkedIn.      The Defendant is further PRELIMINARILY
        ENJOINED from using, or permitting any other person or entity to use, his
        name or name and endorsement to publicize, advertise, market, publicly
        describe, or otherwise promote his business venture The Field or his
        association therewith.



 December 15, 2014.                                      Respectfully submitted,

 MURRAY, PLUMB & MURRAY                                  /s/Thomas C. Newman
 75 Pearl Street, P.O. Box 9785                          Thomas C. Newman
 Portland, ME 04104-5085                                 tnewman@mpmlaw.com
 (207) 773-5651                                          Attorney for Plaintiffs




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                          CERTIFICATE OF SERVICE

        I certify that on this date I filed the foregoing document with the Clerk of
 Court using the CM/ECF system which will send notification of such filing and serve
 a copy electronically on all parties of record.

 Dated: December 15, 2014                       /s/ Thomas C. Newman
                                                Thomas C. Newman
                                                tnewman@mpmlaw.com


 MURRAY PLUMB & MURRAY
 75 Pearl Street, P.O. Box 9785
 Portland, ME 04104-5085
 (207) 773-5651




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